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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 18-88V
                                          UNPUBLISHED


    JENNIFER ROBINSON,                                          Chief Special Master Corcoran

                         Petitioner,                            Filed: August 27, 2020
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Decision Awarding Damages; Pain
    HUMAN SERVICES,                                             and Suffering; Influenza (Flu)
                                                                Vaccine; Guillain-Barre Syndrome
                         Respondent.                            (GBS)


Isaiah Richard Kalinowski, Maglio Christopher & Toale, PA, Washington, DC, for
petitioner.

Heather Lynn Pearlman, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES 1

       On January 18, 2018, Jennifer Robinson filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered from Guillain-Barré syndrome (“GBS”)
as a result of influenza (“flu”) and Tetanus Diphtheria acellular Pertussis (“Tdap”) vaccines
administered on August 31, 2015. Petition at 1-6. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

     For the reasons described below, I find that Petitioner is entitled to an award of
damages in the amount $165,113.59, representing $160,000.00 for actual pain and

1  Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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suffering, $2,428.94 for past unreimbursable expenses, and $2,684.65 in lost
wages.

   I.       Relevant Procedural History

       Petitioner filed her case on January 18, 2018, with Respondent conceding
entitlement on April 1, 2019. ECF No. 33. After six months of negotiating on the amount
of Petitioner’s damages, Respondent indicated the parties had reached an impasse and
requested that damages be resolved through briefing. See Status Report, dated October
9, 2019, ECF No. 53. At a subsequent status conference on November 22, 2019, the
parties reported they had agreed on the amount of unreimbursable expenses, but still
disagreed on the amount of pain and suffering damages and on whether lost wages
should be awarded. I ordered the parties to file briefs to be considered in a decision
awarding compensation. ECF No. 54.

       Petitioner submitted lost earnings documentation on January 9, 2020, and a
motion for a ruling on the record (with supporting memorandum) regarding damages on
January 10, 2020. Motion for Findings of Fact and Conclusions of Law Regarding
Damages and Petitioner’s Memorandum (“Motion”), ECF Nos. 56, 57. Respondent filed
a response brief on damages on February 24, 2020 and Petitioner replied on April 21,
2020. Respondent’s Brief on Damages (“Response”), Petitioner’s Reply Memorandum
(“Reply”), ECF Nos. 59, 60.

      After reviewing the parties’ briefs, I ordered Petitioner to provide additional
documentation supporting her wage loss claim. ECF No. 62. Petitioner complied, and
subsequently revised her claim with the parties ultimately agreeing that Petitioner should
be awarded past lost wages in the amount of $2,684.65. ECF Nos. 63, 64, 66.

         All this leaves is resolution of Petitioner’s pain and suffering damages.

   II.      Relevant Medical History

       Petitioner was 41 years old and working as an administrative assistant at Wal-Mart
when, on August 31, 2015, she received two vaccines at her annual exam with her
primary care provider (“PCP”). Petitioner’s Exhibit (“Ex.”) 2 at 40. Specifically, she
received a flu vaccine in her left arm and Tdap in her right arm. Ex. 1 at 2-3. At that time,
she was in good health, seeing her PCP for an exam every year and for occasional
respiratory symptoms due to a cold or allergies. Ex. 2 at 48-83.

     On September 14, 2015, Petitioner returned to her PCP complaining of headache,
numbness in hands and arms, lack of taste, and vision changes that had started two days

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prior. Ex. 2 at 34. Her doctor noted her “odd complaints” and diagnosed her with tension-
type headache and paresthesias (unspecified disturbances of skin sensation). Id. at 34,
36. He recommended an MRI of the brain and a steroid pack. Id. at 35.

       Petitioner’s condition worsened and she went to the emergency department two
days later with numbness in her arms and legs, pain between her shoulder blades,
headaches, and intermittent blurred vision. Ex. 7 at 788. The ER physician noted
Petitioner was scheduled for an MRI and evaluated her for a stroke, but a head CT, chest
x-ray, and EKG showed negative results. Id. at 788-791. She was discharged with
diagnoses of sinus headache and paresthesias and instructed to continue with the
scheduled MRI the next day. Id. at 791-792, 794.

        The MRI performed on September 17, 2015, revealed findings described in the
report as “[t]wo very subtle subcentimeter white matter FLAIR hyperintensities in the
frontal lobe corona radiata, nonspecific, statistically favored to represent chronic small
vessel ischemic change, can also be seen with sequela of chronic migraine or
demyelinating disease, considered less likely.” Ex. 7 at 72. The next day Petitioner
returned to the hospital reporting continued blurry vision, numbness in upper and lower
extremities, and alteration of taste. Id. at 109. The steroid pack previously prescribed by
her PCP had reduced her headache, but her vision was worsening, and she was
experiencing severe back pain with nausea and vomiting. Id. at 109-110, 209. She was
admitted for evaluation for GBS in light of her recent vaccinations. Id. at 209-210.

        Petitioner was admitted on September 18, 2015, and spent six days in the hospital.
Ex. 7 at 209. A lumbar puncture was attempted the second day, but it was unsuccessful.
Id. at 209, 249. Since Petitioner’s symptoms were worsening, the medical team decided
to start IVIG then attempt another lumbar puncture afterwards to confirm a GBS
diagnosis. Id. Her numbness ascended upwards, she began vomiting and was moved to
the ICU on September 20, 2015. Id. at 245. Once in the ICU, a successful lumbar puncture
confirmed that she had acute inflammatory demyelinating polyneuropathy. Id. at 240.

       Although Petitioner’s condition began to stabilize upon the second and third rounds
of IVIG, she experienced an episode of positional tachycardia raising concerns of a
pulmonary embolism (“PE”). Id. at 237, 240. The tachycardia persisted but a scan showed
no evidence of PE. Id. By September 23, 2015, Petitioner was regaining some sensations
and could taste food again, but she was reporting a lot of back pain. Id. at 230. Petitioner
completed five rounds of IVIG during the hospitalization and she was discharged on
September 24, 2015 with instructions to follow up with a neurologist in ten days. Id. at
112.




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       Petitioner returned to her PCP on September 28, 2015, who noted her recent
hospitalization with GBS and sinus tachycardia diagnoses. Ex. 2 at 30. Petitioner
described increased heart rate when she moved and told her PCP that the hospital did
not continue her medications upon discharge. Id. The doctor noted that Petitioner is afraid
to go to physical therapy (“PT”) due to concerns about her heart rate and he prescribed
a beta blocker. Id.

      On October 5, 2015, Petitioner started PT to address multiple muscle weaknesses,
abnormal paresthesias, and increased pain levels. Ex. 3 at 54. Petitioner’s range of
motion (“ROM”) of her arms and legs was limited with decreased strength in her
extremities. Id. at 54-55.

        Petitioner followed up with neurologist Jose Matus, M.D. on October 9, 2015 who
confirmed that it was highly possible that the flu vaccine triggered Petitioner’s GBS. Ex.
3 at 16. Dr. Matus examined Petitioner and noted she had slight decreased sensation in
her upper and lower limbs with tingling in her hands and feet. Id. Dr. Matus completed a
disability and leave form for Petitioner on October 15, 2015, indicating that she was
unable to work from September 18, 2015 to December 9, 2015. Id. at 90.

       Over the next three months, Petitioner attended 20 sessions of PT and regained
her ROM and strength although she continued to report right shoulder pain. She was
discharged to a home exercise program on December 29, 2015. Ex. 3 at 47. She returned
to Dr. Matus on December 8, 2015, who recorded that Petitioner was improved but still
had some tingling in her hands and feet. She had stopped the medication for her heart
rate and noticed no issues. Id. at 10. Dr. Matus certified that Petitioner could return to
work with no restrictions on December 9, 2015. Id. at 84.

        Petitioner continued to follow up with Dr. Matus at six-month intervals, then on a
yearly basis, and now as needed. Ex. 3 at 3; Ex. 8 at 2, 5; Ex. 16 at 2. She reported
residual numbness and tingling in her hands and feet at her last visit on October 22, 2018,
but it was not interfering with balance or walking. Ex. 16 at 2-4.

   III.    Affidavits

       Petitioner submitted two affidavits with detailed descriptions of falling ill and
recovering from GBS. Exs. 9, 11. She was an active wife and mother of two with a full-
time job when she was vaccinated on August 31, 2015, and she described the experience
of GBS as devastating and life-changing. Ex. 11 at 1.

     Petitioner’s illness started on September 10, 2015, with headaches leading to
numbness in both hands with an extreme sensitivity to cold. Id. at 2. Over the next few

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days, she described her tongue and mouth becoming numb and everything she ate or
drank tasted bad. Id. at 3. Her vision blurred and she could not read the words on the
bottle of Excedrin she was using for the headaches. Id. Petitioner reviewed the strange
symptoms with her PCP leading him to suspect neurological problems and scheduling
her for an MRI. Id.

       Petitioner’s next symptom was pain in her upper back that interfered with sleep
and work. Ex. 11 at 3-4. The numbness spread down to her lower legs and feet and her
vision worsened so Petitioner decided to go to the emergency room on September 16,
2015, even though her MRI appointment was the next day. Id. at 4. She was checked for
a possible stroke and when her tests turned up negative, she was discharged with no
idea what was wrong. Id.

        Over the next several days, Petitioner’s symptoms intensified as did her frustration
and concern. Ex. 11 at 5-6. She returned to the emergency department on September
18, 2015, and saw a neurologist who was initially dismissive of her symptoms, attributing
her vision problems to age and the numbness to possible diabetes. Id. at 6. She described
his demeanor changing when he learned she had a flu shot two weeks before the start of
her symptoms. Id. at 7. Petitioner learned she would be admitted immediately and would
need a lumbar puncture to determine if she had GBS. Id.

       Petitioner described confusion and horrible pain during the first couple days of the
hospitalization. Ex. 11 at 7. The lumbar puncture was first delayed (due to her recent
ingestion of aspirin) then the doctor was unsuccessful in reaching spinal fluid even after
an hour of trying so her diagnosis remained uncertain. Id. at 7-8. Due to her rapid
deterioration, the doctor suggested she start IVIG treatment anyway and she agreed. Id.

          On September 20, 2015, Petitioner awoke to find the numbness had progressed
to her chest and she could not catch her breath. Ex. 11 at 9. Petitioner was vomiting and
sweating profusely, and she was aware that her medical team was very concerned. Id.
Petitioner was transferred to the ICU and informed she might need to be placed on a
ventilator. Id. at 9. She recalled in her affidavit that she had never been so scared in her
life. Id.

       Although a successful lumbar puncture in the ICU confirmed the GBS diagnosis,
Petitioner experienced migraines as a side effect. Ex. 11 at 10. She described the
migraines as so severe she was “continually vomiting, screaming, crying.” Id. On the
second day in the ICU, her blood pressure was elevated, and her heart rate increased
whenever she tried to sit up. Id. at 11. She underwent more painful testing for the spiking
heart rate and blood clotting abnormalities. Id.


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       The five IVIG treatments caused Petitioner to regain sensation in her chest and
waist and she was moved out of the ICU to a regular room on September 23, 2015. Ex.
at 11 at 11. However, the pain in her back was still severe and she could not walk without
assistance, so she was shocked the next day to learn she was being discharged. Id. at
12. She was further distressed when she was discharged with an order for physical
therapy and the surprising offer of a flu shot but no medications for either the pain or her
racing heart rate. Id.

       Petitioner described a “horrible” return home from the hospital with her heart racing
every time she stood up and a sleepless night with pain, nausea, vomiting, headaches,
and cold sweats. Ex. 11 at 12. She made an appointment to see her PCP and her
husband helped her into the doctor’s office the next day. Id. at 13. Her PCP was surprised
she was sent home without prescriptions and he prescribed a heart medication and
something for the pain. Id. The doctor told her she had a hard recovery ahead of her and
would be out of work for several months. Id.

       Petitioner required PT to regain use of her right arm and address her atrophied leg
muscles. Ex. 11 at 13. She participated in PT for about three months then was discharged
to a home exercise program. Id. She discontinued the heart medication after a couple
months and her blood pressure and heart rate remained stable. Id. During her months of
recovery she was unable to attend her children’s school activities. Id at 1-2.

       In her affidavits Petitioner described the illness and its residual effects taking a
physical and mental toll on her. She has continued to have weakness, numbness,
shooting nerve pain in her legs and arms, and balance problems. Her neurologist is
uncertain whether the symptoms will ever completely resolve. Ex. 11 at 13-14. The
emotional effects were also significant because she was fearful that she would not
survive, and she feels guilty about the strain of her illness and recovery on her husband
and children. Id.

       Petitioner’s husband, Ben Robinson, also submitted an affidavit in connection with
this case. Ex. 12. He described how Petitioner’s illness disrupted family life and negatively
affected his job performance. Id. at 1-3.

   IV.    The Parties’ Arguments

       As already noted, the parties agree that Petitioner should be awarded $2,428.94
in unreimbursed expenses, and $2,684.65 in past lost wages but disagree on the amount
of pain and suffering damages.




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       Petitioner suggests she should be awarded $180,00.00 in damages for pain and
suffering. She compares her circumstances to that of two previous GBS petitioners who
received a comparable pain and suffering award. See Johnson v. Sec’y of HHS, No. 16-
1356V, 2018 WL 5024012, at *2-4 (Fed. Cl. Spec. Mstr. July 20, 2018) (awarding
$180,000.00 to petitioner); Dillenbeck v. Sec’y of HHS, No 17-428V, 2019 WL 4072069,
at *2 (Fed. Cl. Spec. Mstr. July 29, 2019), aff’d in relevant part, 147 Fed. Cl. 131 (2020)
(awarding $180,857.15 to petitioner). She emphasizes that her claim for pain and
suffering and emotional distress is well supported by the testimonial affidavits and
documented in medical records. Motion at 12.

      Respondent also compares Petitioner to the petitioners in Dillenbeck and Johnson,
but argues that Petitioner suffered less than those petitioners, and is thus more
appropriately compensated with an award of $120,000.00.


   V.     Analysis

          A. Pain and Suffering
        Compensation awarded pursuant to the Vaccine Act shall include “[f]or actual and
projected pain and suffering and emotional distress from the vaccine-related injury, an
award not to exceed $250,000.” Section 15(a)(4). Additionally, a petitioner may recover
“actual unreimbursable expenses incurred before the date of judgment award such
expenses which (i) resulted from the vaccine-related injury for which petitioner seeks
compensation, (ii) were incurred by or on behalf of the person who suffered such injury,
and (iii) were for diagnosis, medical or other remedial care, rehabilitation . . . determined
to be reasonably necessary.” Section 15(a)(1)(B). The petitioner bears the burden of proof
with respect to each element of compensation requested. Brewer v. Sec’y of Health &
Human Servs., No. 93-0092V, 1996 WL 147722, at *22-23 (Fed. Cl. Spec. Mstr. Mar. 18,
1996).

       There is no mathematic formula for assigning a monetary value to a person’s pain
and suffering and emotional distress. I.D. v. Sec’y of Health & Human Servs., No. 04-
1593V, 2013 WL 2448125, at *9 (Fed. Cl. Spec. Mstr. May 14, 2013) (“[a]wards for
emotional distress are inherently subjective and cannot be determined by using a
mathematical formula”); Stansfield v. Sec’y of Health & Human Servs., No. 93-0172V,
1996 WL 300594, at *3 (Fed. Cl. Spec. Mstr. May 22, 1996) (“the assessment of pain and
suffering is inherently a subjective evaluation”). Factors to be considered when
determining an award for pain and suffering include: 1) awareness of the injury; 2) severity
of the injury; and 3) duration of the suffering. I.D., 2013 WL 2448125, at *9 (quoting
McAllister v. Sec’y of Health & Human Servs., No 91-1037V, 1993 WL 777030, at *3 (Fed.


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Cl. Spec. Mstr. Mar. 26, 1993), vacated and remanded on other grounds, 70 F.3d 1240
(Fed. Cir. 1995)).

       I may also consider prior pain and suffering awards to aid my resolution of the
appropriate amount of compensation for pain and suffering in this case. See, e.g., Doe
34 v. Sec’y of Health & Human Servs., 87 Fed. Cl. 758, 768 (2009) (finding that “there is
nothing improper in the chief special master’s decision to refer to damages for pain and
suffering awarded in other cases as an aid in determining the proper amount of damages
in this case.”). And, of course, I may rely on my own experience (along with my
predecessor Special Masters) adjudicating similar claims. Hodges v. Sec’y of Health &
Human Servs., 9 F.3d 958, 961 (Fed. Cir. 1993) (noting that Congress contemplated the
special masters would use their accumulated expertise in the field of vaccine injuries to
judge the merits of individual claims).

       In this case, Petitioner was a busy wife and mother when she incurred GBS as the
result of her flu vaccination. She experienced a range of puzzling and distressing
symptoms that her doctors were initially unable to diagnose as her condition deteriorated.
Her six-day hospitalization was a baffling ordeal that caused her to question whether she
would survive or not. However, once she was diagnosed and properly treated, her
condition responded dramatically. And, although she had a challenging recovery period,
she was back to work roughly three months after the hospitalization with no limitations,
and her ongoing sequelae are relatively mild.

        Both parties compare Petitioner’s case to two previously decided GBS cases,
Johnson and Dillenbeck, so some discussion of their holdings is in order. The Johnson
petitioner was awarded $180,000.00 in past pain and suffering, and in Dillenbeck I
awarded the petitioner $170,000.00 in past pain and suffering and $500.00 per year in
future pain and suffering, for a total award of $180,857.15. Like Ms. Robinson, those
petitioners suffered through a course of illness involving a sudden onset of strange
symptoms, hospitalization with repeated courses of IVIG, and a brisk subsequent
response to treatment. Ms. Dillenbeck spent two weeks in the hospital, while Ms. Johnson
was hospitalized for five days. Those petitioners also suffered continuing symptoms like
Petitioner that included gait problems, general weakness, and numbness in the
extremities.

       Unlike the instant case, however, the Johnson and Dillenbeck petitioners
experienced other knock-on effects of their GBS that cast a more significant shadow over
their enjoyment of life. Ms. Johnson and Ms. Dillenbeck were unable to resume activities
and return to work in the same capacity as before the illness. Continuing fatigue interfered
with Ms. Johnson’s ability to work as a school librarian and bus driver, requiring her to
return home in the middle of the day to rest. Johnson, 2018 WL 5024012, at *7.

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Furthermore, Ms. Johnson suffered with incontinence as a distressing residual symptom
of GBS. Id. at *5. The Dillenbeck petitioner was unable to continue as a veterinary
technician due, in part, to her GBS sequelae, and I expressly took into account the
petitioner’s distress arising from lost vocational opportunities in calculating pain and
suffering in that case. Dillenbeck, 2019 WL 4072069, at *4. I noted in that decision that it
was a generous award but consistent with other Program cases involving GBS injuries
that resolved favorably (with mild to moderate sequelae). Id. at *14-15.

        Petitioner stresses that her hospitalization and recovery interfered with her ability
to parent her children, a factor considered in past damages decisions - but absent from
Johnson and Dillenbeck. Motion at 9. Petitioner’s emotional distress in the hospital was
complicated by her worry for her family and she was unable to fully participate in her
children’s activities for a period of months afterward. Respondent, on the other hand, does
not address Petitioner’s family concerns at all, and instead focuses on the short
hospitalization and quick recovery with few residuals to argue that Petitioner should be
awarded a lesser amount than in Johnson and Dillenbeck. However, Petitioner had no
way to know that her illness would be brief, and her sequelae relatively mild when she
was struggling to breathe in the hospital and questioning her own survival. Both she and
her husband had to curtail family activities while she recovered although she was
fortunate that she has not experienced ongoing activity limitations like Ms. Johnson and
Ms. Dillenbeck. Thus, while this factor does not quite support an award as high as allowed
in the two comparable cases, it is worthy of consideration.

       After considering the entirety of the record, including both of Petitioner’s affidavits
which I find credible and consistent with the medical records, I award her $160,000.00 in
past pain and suffering. I do not find that this case presents quite as severe a situation as
Dillenbeck or Johnsoni, but also believe that Petitioner has made out a persuasive case
for an above-median award that reflects Petitioner’s established suffering.

    VI.     Conclusion

       For all of the reasons discussed above and based on consideration of the record
as a whole, I find that $160,000.00 represents a fair and appropriate amount of
compensation for Petitioner’s actual pain and suffering. 3 I also find that Petitioner
is entitled to $2,428.94 in actual unreimbursable expenses and $2,684.65 in lost
wages.


3Since this amount is being awarded for actual, rather than projected, pain and suffering, no reduction to
net present value is required. See § 15(f)(4)(A); Childers v. Sec’y of Health & Human Servs., No. 96-0194V,
1999 WL 159844, at *1 (Fed. Cl. Spec. Mstr. Mar. 5, 1999) (citing Youngblood v. Sec’y of Health & Human
Servs., 32 F.3d 552 (Fed. Cir. 1994)).


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      Based on the record as a whole and arguments of the parties, I award Petitioner
a lump sum payment of $165,113.59 in the form of a check payable to Petitioner.
This amount represents compensation for all damages that would be available under
Section 15(a).

       The Clerk of the Court is directed to enter judgment in accordance with this
decision. 4

IT IS SO ORDERED.

                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


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